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                                                             THE PORT AlffllORnY OF NY & NJ
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February 18, 2020

VIAECF
Honorable Steven L. Tiscione
United States District Court
Eastern District ofNew York
225 Cadman Plaza East, Chambers N505-North Wing
Brooklyn, NY 11201


            Re:     Francisco Suriel v. Port Authority New York and New Jersey, et al.
                    Docket No.: 19-CV-03867 (PKC) (ST)

Dear Judge Tiscione:

This office represents the defendant, The Port Authority of New York and New Jersey (the "Port
Authority") and Andrew Samuel ("Officer Samuel") (collectively, "Defendants") in the above-
referenced matter. We write to respectfully request a 30-day extension to answer Plaintiffs First
Amended Complaint and for a 45-day extension of all discovery deadlines. We have conferred
with plaintiffs counsel and they join in the application. There have been no previous requests for
discovery extensions.

Plaintiffs First Amended Complaint was filed via ECF on February 14, 2020. Pursuant to the
Federal Rules of Civil Procedure, Defendants must respond to the amended pleading within 14
days, on or before February 28, 2020. Defendants request an additional 30-day extension to answer
the amended pleading so that Defendants may reach a conclusion as to whether they will defend
and indemnify the newly named police officers in the Complaint. This 30-day extension will
require Defendants to respond to the amended pleading on or before March 30, 2020.

In light of the request for an extension of time to answer the amended pleadings, the parties also
request a 45-day extension of all discovery deadlines.

 The original discovery schedule is as follows:

    1.   The parties shall complete fact discovery by May 4, 2020.
    2.   The parties shall exchange expert reports by June 3, 2020.
    3.   Expert depositions completed by July 3, 2020.
    4.   All discovery completed by July 3, 2020.
    5.   Final date to take first step in dispositive motion practice, August 3, 2020.
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The parties propose the following new dates:

      1.   The parties shall complete fact discovery by June 18, 2020.
      2.   The parties shall exchange expert reports by July 18, 2020.
      3.   Expert depositions completed by August 17, 2020.
      4.   All discovery completed by August 17, 2020.
      5.   Final date to take first step in dispositive motion practice, September 17, 2020.


We thank the Court for your courtesies and attention to this matter.

Respectfully submitted,




cc:        Gabriel P. Harvis, Esq. (via ECF)
